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AO 91 (Rev. 11/11) Criminal Complaint


                                     UNITED STATES DISTRICT COURT
                                                               for the
                                                    Southern District
                                                 __________  District of
                                                                      of __________
                                                                         Texas

                  United States of America                        )
                             v.                                   )
           Alejandro RODRIGUEZ-Rodriguez
                                                                  )      Case No.
                                                                  )
                                                                  )
                                                                  )
                                                                  )
                          Defendant(s)


                                                CRIMINAL COMPLAINT
         I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of                     11/03/2019                in the county of                Webb            in the
     Southern          District of            Texas           , the defendant(s) violated:

            Code Section                                                    Offense Description
21 USC 952 & 963                               Knowingly and unlawfully import and conspire to import from a place outside
                                               the United States, to wit: the United Mexican States, to a place in the United
                                               States, to wit: Laredo, Texas, approximately 31.84 kilograms of cocaine, a
                                               Schedule II controlled substance.




         This criminal complaint is based on these facts:
See Attachement "A"




         ✔ Continued on the attached sheet.
         u

                                                                                              /s/ Gabriel Rios Jr
                                                                                             Complainant’s signature

                                                                                    Gabriel Rios Jr, HSI Special Agent
                                                                                              Printed name and title

Sworn to before me and signed in my presence.


Date:             11/05/2019
                                                                                                Judge’s signature

City and state:                          Laredo, Texas                              Sam Sheldon, US Magistrate Judge
                                                                                              Printed name and title
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                                         Attachment A


I, Gabriel Rios Jr, a Special Agent with Homeland Security Investigations (HSI), have
knowledge of the following facts:


   1. On November 3, 2019, at approximately 10:41 a.m., defendant Alejandro RODRIGUEZ-
      Rodriguez, entered the United States via the Lincoln-Juarez International Bridge II in
      Laredo, Texas, operating a motor vehicle.

   2. During the primary and secondary inspections, Customs and Border Protection Officers
      (CBPOs) obtained a negative oral declaration for prohibited items.

   3. CBPOs discovered non-factory metal compartments within the vehicle’s four wheels
      containing a total of twenty-six (26) packages of a white powder like substance that field
      tested positive for cocaine. The total weight of the narcotic was approximately thirty-one
      point eighty-four (31.84) kilograms.

   4. On November 3, 2019, RODRIGUEZ-Rodriguez was advised of his Miranda Rights in
      the Spanish language. RODRIGUEZ-Rodriguez signed a Waiver of Rights form and
      agreed to make a statement without an attorney present.

   5. RODRIGUEZ-Rodriguez stated he was the registered owner of the vehicle and was
      traveling from Monterrey, Nuevo Leon, Mexico to San Marcos, Texas to shop.
